Case 1:03-md-01570-GBD-SN Document 1824-3 Filed 05/30/06 Page 1of 3

Exhibit B
Mesrage

Hemelgarn,

Case 1:03-md-01570-GBD-SN Document 1824-3 Filed 05/30/06 Page 2 of 3

Page 1 of 2

Colleen

From:
Sent:
To:

Ce:
Subject:
Attachments:

Cashon, Richard
Tuesday, April 04, 2006 5:12 PM

Yegelwel, Evan; Ambush, Joshua; DICKSTEIN SHAPIRO, ET AL.; Fromm, David; Kaplan, Robert; Lee,
JD; Leonardo, Christopher; Molesky, Kim; Palmer, Mary; PRICE WAICUKAUSKI RILEY & DEBROTA,
LLC; Rubino, Frank; Saiontz, Stacey; Wisner, Floyd; Barasch, Michael; Baumeister, Michel; Bierstein,
Andrea; Block, Michael; BRODER & REITER; Burbidge, Richard; Capone, Thea; Carboy, Andrew;
Cordray, Jack; Corr, Jack; Corr, Stephen; COZEN O'CONNOR; D'Amato, John; Davis, Sam; Dubinsky,
Paul; Fleming, Timothy; Galiher, Gary; Gerson, Allan; Goldman, Jerry; Granito, Frank; Green, Justin;
Habig, Steven; Hailey, Richard; HOWARTH & SMITH; Huge, Harry; Hunter, Helen; Jaroslawicz, David:
Jett, Paula; JUDICIAL WATCH, INC.; Kisch, Lori; Kreindler, James; Latto, Douglas; Lee, David; MacNeill,
Gina; Maloney, Andrew; Mellon, Tom; Molinari, Guy; Moller, Marc; MOTLEY RICE LLC; Nolan, Kenneth:
O'Brien, David; O'Grady, Jeanne; Pantazis, Dennis; Parrett, Vincent; Pitta, Vincent; Robertson, Chip;
Rubenstein, Sandy; Rubenstone, Edward; Sacks, Kenneth; Schutty, John; Sellitto, Anthony; Shultz, Silas;
Sproule, Clare; Winder, Donald; Yarbrough, Matthew; Allen, Tracey; Arthur, Bonnie; Benedi, Lizette;
Bourne, Andrew; Bowker, David; Castello, Raymond; Curtis, Douglas; Dinh, Viet; DLA PIPER RUDNICK
GRAY CARY; Fishberg, Lisa; Geneson, David; Helms, John; Jackson, Amy; Jacob, Beth; Keefer, Wendy;
Lauro, John; Letsche, Karla; MARTIN F. McMAHON & ASSOCIATES; McCarthy, Tim; McGuire, James;
McKay, Scott; Melsheimer, Thomas; Musgrove, Sheryl; Nevin, David; PATTON BOGGS; Saltarelli,
Joseph; Schoenbach, Lawrence; Scholnick, John; Schwartz, Martin; Smith, Christopher; Untereiner, Alan;
Vargas, Jeannette; Wahid, Khurrum; WILLIAMS & CONNOLLY LLP; Wilson, Brian; BAKER BOTTS;
Bernabei, Lynne; Biggers, Michael; CHADBOURNE & PARKE LLP; Ciaputa, Daria; Cohen, Louis; Cole,
James; Dratel, Joshua; Englert, Roy; Gersch, David; GORDON & SIMMONS; Huffman, Max; JONES
DAY; Kabat, Alan; Kalicki, Jean; KELLOGG, HUBER, HANSEN, TODD, ET AL.; Kingham, Barry; Kirtland,
Matthew; Lutz, Christopher; Marooney, Richard; Mohammedi, Omar; Murphy, James; Nubani, Ashraf,
Nussbaum, Michael; Parker, Wilmer; Robbins, Lawrence; Shapiro, Elizabeth; SHEARMAN & STERLING
LLP; Stewart, Craig; Viggiano, Jeannette; WHITE & CASE LLP

Haefele, Robert
MDL 1570 (RCC)

Letter to O&J Clerk (4-4-06).pdf; Affidavit for Judgment by Default.pdf; Statement of Damages.pdf; Exhibit
A - Plaintiff list.pdf; Exhibit B - Defendants served by publication and in default.pdf; Exhibit C - FINAL
THIRD AMENDED COMPLAINT.pdf; Exhibit D - Proofs of Service - Publication. pdf; Clerk's Certificate. pdf,
Proposed Order for Default Judgment. pdf

Dear Counsel:

Please find attached correspondence and materials sent to the Court today. Thank you.

Richard J. Cashon, Jr.

Paralegal to Jodi Westbrook Flowers
Motley Rice LLC

P.O. Box 1792 (29465)

28 Bridgeside Boulevard

Mount Pleasant, SC 29464

Tel: (843) 216-9555

Fax: (843) 216-9680

E-mail: rcashon@motleyrice.com

4/12/2006
Case 1:03-md-01570-GBD-SN Document 1824-3 Filed 05/30/06 Page 3 of 3

Message Page 2 of 2

a

Y
MotleyRice

Morley Rice LLC, Aztorneys at Law
Litigating Today For A Better Tomorrow

The information contained in this e-mail is privileged and confidential, intended only for the use of the
individual or entity named above. If the reader of this message is not the intended recipient, you are
hereby notified that any dissemination, distribution or copy of this communication is strictly prohibited. If
this communication has been received in error, please notify us immediately by telephone (843-216-9000)
or by return email. Thank you.

4/12/2006
